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                      IN THE UNITED STATES DISTRICT COURT
                     FOR WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,

                                   Plaintiff,
                                                CIVIL ACTION NO. 2:22-CV-547(MJH)
               v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
                                                ELECTRONICALLY FILED
AMERICAN INCOME LIFE INSURANCE
COMPANY,
                          Defendants.


                                          ORDER

       AND NOW, this _____ day of ________________, 2024, it is hereby ORDERED and

DECREED that the Motion for Admission Pro Hac Vice of attorney Anne R. Dana to appear on

behalf of American Income Life Insurance Company, in the above-captioned matter is hereby

GRANTED and attorney Anne R. Dana is hereby specially ADMITTED to the bar of this Court

for purposes of this matter.




                                                  ___________________________________
                                                        Honorable Marilyn J. Horan
